From a conviction for manufacturing whisky, with penalty of three years in the penitentiary, this appeal is prosecuted.
The appeal bond is approved only by the sheriff when it should also be approved by the trial judge; for this reason the State has filed a motion to dismiss the appeal. The following authorities support the motion. Article 904, C.C.P.; Chumley v. State, 83 Tex.Crim. Rep., 201 S.W. Rep., 176; King v. State, 83 Tex.Crim. Rep., 203 S.W. Rep., 52; Johnson v. State, 83 Tex.Crim. Rep., 203 S.W. Rep., 903; Gray v. State, 88 Tex.Crim. Rep., 224 S.W. Rep., 513.
The appeal must be dismissed.
Dismissed.